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 1 IAN C. BALLON (SBN 141819)
   ballon@gtlaw.com
 2 DAVID M. LISI (SBN 154926)
   lisid@gtlaw.com
 3 CATHLEEN DONOHOE (SBN 228729)
   donohoec@gtlaw.com
 4 GREENBERG TRAURIG, LLP
   1900 University Ave., 5th Floor
 5 East Palo Alto, California 94303
   Telephone: (650) 328-8500
 6 Facsimile: (650) 328-8508
 7 Attorneys for Plaintiff,
   OPENWAVE MESSAGING, INC.
 8
 9
10                            UNITED STATES DISTRICT COURT

11                          NORTHERN DISTRICT OF CALIFORNIA

12                                SAN FRANCISCO DIVISION

13 OPENWAVE MESSAGING, INC., a            CASE NO. 3:16-cv-00253-WHO
   Delaware corporation,
14                                        OPENWAVE MESSAGING, INC.’S
          Plaintiff,                      OPPOSITION TO OPEN-XCHANGE,
15                                        INC.’S MOTION TO DISMISS
          v.
16                                        Date:        May 4, 2016
   OPEN-XCHANGE, INC., a Delaware         Time:        2:00 p.m.
17 corporation,                           Courtroom:   2
                                          Judge:       The Hon. William H. Orrick
18         Defendant.
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 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.      INTRODUCTION

 3         Defendant’s motion to dismiss would have the court ignore the following facts asserted in the

 4 Complaint: Open-Xchange, Inc. (“OX, Inc.”) is incorporated in the U.S., is headquartered in Palo Alto

 5 California and is making false statements about Openwave’s technology and financial condition in
 6 order to harm Openwave’s U.S. business. As clarified further in Openwave’s papers, OX, Inc. solicits
 7 business through its website located at www.open-exchange.com which is accessible in the U.S., and
 8 sells its technology – parts of which plaintiff Openwave Messaging, Inc. (“Openwave”) alleges to be
 9 infringing – in California. Moreover, the OEM Agreement, amendments and statements of work at
10 issue, all of which are incorporated by reference in the Complaint, were signed by OX, Inc. officers –
11 including Mr. Rafael Laguna as CEO of OX, Inc., and by Ms. Monika Schroeder as CFO of OX, Inc.
12 Unfortunately, Ms. Schroeder omitted these details in her declaration in support of OX Inc.’s motion.
13         OX, Inc. urges an interpretation of the OEM Agreement to mean something very different from

14 its plain meaning. For example, OX, Inc. tries to argue that this action should proceed in Italy despite
15 an express “Choice of Law Provision” in the OEM Agreement that specifies California law will
16 govern the OEM Agreement and that “any legal action or proceeding with respect to this Agreement

17 will be brought in the United States District Court for the Northern District of California or any state
18 court located in the Northern District.” As discussed below, except in the most exceptional cases,
19 venue selection provisions such as this one are enforced in the face of forum non conveniens
20 challenges. Indeed, the broad contractual provision here establishes that, far from considering this
21 Court to be an inconvenient venue, OX, Inc. considered it a very convenient and proper choice of
22 forum in which to resolve disputes.

23         But OX, Inc.’s reinterpretation of the OEM Agreement does not stop there. OX, Inc. denies its

24 product “App Suite” is subject to the provisions of the OEM Agreement despite OX, Inc.’s own
25 statements of work and amendments to the OEM Agreement, signed by Mr. Laguna, Mr. Carsten
26 Dirks, (the COO of OX), or by Ms. Schroeder, adapting App Suite for use with Openwave’s
27 technology. It denies engaging in conduct, including making false statements about Openwave and its
28 products, aimed at disrupting Openwave’s business here in California. Instead, it tries to pass these

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 1 actions off as isolated incidents. OX, Inc.’s bad acts will be revealed once discovery has commenced –
 2 discovery, according to OX Inc.’s declarant Professor Mastroianni, that is not available in Italy, the
 3 forum to which OX, Inc. hopes to move this action. For the purpose of OX Inc.’s motion to dismiss,
 4 however, the Court must treat the allegations of the Complaint as true. Those allegations are sufficient

 5 to state the proffered claims here, and will be sufficiently proved by admissible evidence at trial.
 6 II.     BACKGROUND

 7         Openwave is a Delaware corporation with its principal place of business in San Mateo,

 8 California. Openwave was at all times referenced in the Complaint one of the largest global providers
 9 of software and services for commercial email platforms. Complaint (“Compl.”) ¶¶ 12, 15.
10         OX, Inc., the defendant here, is a Delaware corporation with offices in Palo Alto, California.

11 Id. ¶ 16. It is the U.S. subsidiary of other Open-Xchange entities. Schroeder Declaration in support of
12 Motion (“Schroeder Decl.”) ¶¶ 1-3. OX, Inc. presently develops, markets and sells web-based
13 communication, collaboration and office productivity software, enabling integration of email,
14 documents, scheduling and social media on a single platform. Compl. ¶ 24.
15         Beginning in 2011, Openwave and OX, Inc. entered into a series of agreements, including an

16 OEM Agreement and subsequent amendments and statements of work (“SOWs”) (together, the

17 “Agreements”) pursuant to which they jointly developed and marketed OX, Inc.’s user interface
18 products to work as part of the Openwave email platform for use by third-party customers. Id. ¶¶ 25,
19 27. These Agreements are incorporated by reference in the Complaint. Id.
20         The Agreements created a number of obligations between the parties, of which one example
21 concerned the software “OX Hosting Edition” which was to be and subsequently was in fact, jointly
22 developed by Openwave and OX, Inc. Id. ¶ 29. As part of the OEM Agreement, the parties agreed that

23 Openwave “retain[ed] all right, title and interest to the Openwave Products and in any modifications,
24 derivative works, extensions, plug-ins or the link, if any, of OX Hosting Edition developed for
25 Openwave by [OX] or by Openwave on its own behalf . . . .” Id. ¶ 30.
26         The OEM Agreement and its amendments also were intended to cover future versions of and
27 amendments or updates to OX Hosting Edition and other products. Id. ¶ 34. OX Hosting Edition refers
28 generically to OX software which was further developed and designed to combine with Openwave’s

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 1 hardware and software such that OX Hosting Edition provided the user interface, or “front end,” and
 2 Openwave’s technology provided the software “engine” or “back end” of the integrated email product.
 3 Id. ¶ 36. Subsequently, OX updated OX Hosting Edition and renamed it “App Suite.” App Suite falls
 4 within the OEM Agreement’s definition of OX Hosting Edition and was developed jointly with

 5 Openwave. Compl. ¶¶ 29-31. Consequently, Openwave has filed a complete copyright application for
 6 software used with and jointly developed as part of App Suite according to the express terms of the
 7 OEM Agreement. Id. ¶ 46.
 8         As alleged more specifically in the Complaint, during the course of the business relationship

 9 between OX, Inc. and Openwave, OX, Inc. breached the Agreement, and engaged in surreptitious
10 actions that were unlawful, contrary to its express and implied duties under the Agreements, and that
11 damaged and continue to damage Openwave. These actions include but are not limited to, making
12 false statements designed to undermine Openwave’s business relationships (e.g., id. ¶¶ 7, 56, 63, 70,
13 74, 80), infringing Openwave’s copyrights, (e.g., id. ¶¶ 56-59, 61), secretly undermining Openwave’s
14 relationship with joint customers of their joint products (e.g., id. ¶¶ 47-75), breaching its
15 confidentiality obligations and misappropriating Openwave’s trade secrets ( e.g., id. ¶¶ 5, 6, 44, 68,
16 70-79, 80, 81), and engaging in deceitful acts and omissions designed to undermine Openwave’s

17 business while misappropriating its customers and business opportunities (e.g., id.¶¶ 1, 6, 7, 12, 38,
18 39, 41, 42, 44, 51-55, 57, 75, 76-79).
19         A.      Standard Of Review On Motion To Dismiss

20         Under Federal Rule of Civil Procedure 12(b)(6), a complaint should not be dismissed if “it may
21 be supported by showing any set of facts consistent with the allegations in the complaint.” Bell
22 Atlantic Corp. v. Twombly, 550 U.S. 544, 563 (2007). “Motions to dismiss under Fed. R. Civ. P.

23 12(b)(6) are disfavored and rarely granted.” Delano Farms Co. v. Calif. Table Grapes Com’n, 623 F.
24 Supp. 2d 1144, 1156 (E.D. Cal. 2009)(citing Gilligan v. Jamco Development Corp., 108 F.3d 246, 249
25 (9th Cir. 1997)); see also California Pharmacy Mgmt., LLC v. Zenith Ins. Co., 669 F. Supp. 2d 1152,
26 1158 (C.D. Cal. 2009)(“Rule 12(b)(6) motions are viewed with disfavor”)(citing Broam v. Bogan, 320
27 F.3d 1023, 1028 (9th Cir. 2003)).
28         Under Supreme Court precedent, a complaint need only allege “enough facts to state a claim to

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 1 relief that is plausible on its face.” Twombly, 550 U.S. at 570. In considering a motion to dismiss for
 2 failure to state a claim, the Court must accept as true the allegations of the complaint, “construe the
 3 pleading in the light most favorable to the party opposing the motion, and resolve all doubts in the
 4 pleader’s favor.” Hebbe v. Pliler, 627 F.3d 338, 340 (9th Cir. 2010). The Court reads the complaint

 5 “as a whole, not parsed piece by piece to determine whether each allegation, in isolation, is plausible.”
 6 Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009). Moreover, “‘Twombly and Iqbal
 7 do not require that the complaint include all facts necessary to carry the plaintiff’s burden.’” Teamsters
 8 Local 617 Pension and Welfare Funds v. Apollo Group, Inc., 690 F. Supp. 2d 959, 980 (D. Ariz.
 9 2010)(quoting from Al-Kidd v. Ashcroft, 580 F.3d 949, 977 (9th Cir. 2009), rev’d on other grounds,
10 131 S. Ct. 2074 (2011)); see also Motohouse Intern., LLC v. PPG Inds., Inc., No. 09-CV-1265-LJMA,
11 2010 WL 476652, at *2 (S.D. Cal. Feb. 4, 2010)(same). “‘Asking for plausible grounds does not
12 impose a probability requirement at the pleading stage; it simply calls for enough fact to raise a
13 reasonable expectation that discovery will reveal evidence of wrongdoing.’” Riva v. Pepsico, Inc., 82
14 F. Supp. 3d 1045, 1051 (N.D. Cal. 2015)(quoting Twombly, 550 U.S. at 545). “If there are two
15 alternative explanations, one advanced by defendant and the other advanced by plaintiff, both of which
16 are plausible, plaintiff’s complaint survives a motion to dismiss under Rule 12(b)(6).” Starr v. Baca,

17 652 F.3d 1202, 1216 (9th Cir. 2011).
18         In deciding a motion to dismiss, the Court “ordinarily limits its review to the face of the

19 complaint.” Glenbrook Capital Ltd. P’ship v. Kuo, 525 F. Supp. 2d 1130 (N.D. Cal. 2007)(citing Van
20 Buskirk v. Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002)). However, the court may use
21 plaintiff’s brief “to clarify allegations in [the] complaint whose meaning is unclear.” Orion Tire Corp.
22 v. Goodyear Tire & Rubber Co., Inc., 268 F.3d 1133, 1137-38 (9th Cir. 2001)(quoting Pegram v.

23 Herdrich, 530 U.S. 211, 230 & n.10 (2000)).
24 III.    ARGUMENT

25         A.      Openwave’s Complaint Adequately Pleads A Claim For Copyright Infringement

26         OX Inc.’s sole argument against Openwave’s claim for copyright infringement is that

27 Openwave does not allege any copyright violations that occurred within the United States. Motion at
28 2:20-23, 11:15-16. OX, Inc. cites Subafilms, Ltd. v. MGM-Pathe Commc’ns Co., 24 F.3d 1088, 1090

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 1 (9th Cir. 1994)(en banc) and Los Angeles News Serv. v. Reuters Television Int’l, Ltd., 149 F.3d 987,
 2 990-91 (9th Cir. 1998), for the proposition that “wholly extraterritorial acts of infringement are not
 3 cognizable under the Copyright Act.” Subafilms, 24 F.3d at 1090. However, this contention misstates
 4 the allegations contained in the Complaint. Openwave’s Complaint not only alleges that copyright

 5 violations occurred outside the United States, it clearly alleges that violations occurred “across the
 6 globe,” which reasonably includes the United States. See Compl. ¶ 46. Indeed, much of the software
 7 was developed here in California and OX, Inc.’s infringement is occurring here and throughout the
 8 United States – as well as abroad.
 9         A reasonable inference from the allegations is that OX, Inc., an American company with only

10 U.S. employees (Schroeder Decl. ¶ 2), markets and sells the infringing software in the U.S. and
11 violated the copyrights here. See Compl. ¶¶ 16, 86-95; Miller v. Facebook, Inc., No. 10-cv-00264-
12 WHA, 2010 WL 2198204, at *6 (N.D. Cal. May 28, 2010)( plaintiff’s proposed complaint sufficiently
13 pled a claim for copyright infringement within the United States; “it would not be a reasonable
14 inference at the pleading stage to conclude from the facts as alleged that the acts of unauthorized
15 distribution of the ChainRxn video game to Facebook users occurred entirely beyond our shores, even
16 assuming defendant Yeo ‘reproduced’ the game outside the United States.”); United Feature

17 Syndicate, Inc. v. Miller Features Syndicate, Inc., 216 F. Supp. 2d 198, 225 (S.D.N.Y. 2002)(holding
18 that plaintiff pled a valid claim for federal copyright infringement; “[w]hile the complaint does not
19 specifically allege that the Vrooms’ alleged infringement occurred within the United States, when
20 adjudicating the defendant’s motion to dismiss under Fed. R. Civ. P. 12(b)(6), all reasonable
21 inferences from the complaint’s factual allegations must be drawn in favor of the plaintiff.”); see also
22 Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009)(“[a] claim has facial plausibility when the pleaded factual

23 content allows the court to draw the reasonable inference that the defendant is liable for the
24 misconduct alleged.”)(citing Twombly, 550 U.S. at 556). As such, Openwave has adequately pled a
25 claim for copyright infringement. Subafilms, 24 F.3d at 1098 (holding that acts of infringement that
26 are not wholly extra-territorial are actionable under the U.S. Copyright Act).
27         OX, Inc. relies on cases where it was undisputed that the alleged copyright violations – unlike

28 here – occurred solely outside the United States. See Raima, Inc. v. Myriad France, SAS, No. 12-116,

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 1 2012 WL 6201709, at *3 (W.D. Wash. Dec. 11, 2012)(dismissing a copyright claim brought against a
 2 foreign entity because neither party disputed that all allegedly infringing acts took place outside the
 3 United States); Geophysical Services v. TGS-Nopec Geophysical Services, No. 14-cv-1368, 2015 WL
 4 6869733, at *8 (S.D. Tex. Nov. 9, 2015)(dismissing claim where plaintiff alleged that copyright

 5 infringement occurred solely outside the United States). By contrast, Openwave disputes OX, Inc.’s
 6 mischaracterization of the facts as it has clearly alleged copyright infringement both within and
 7 outside the United States.
 8         Even if the court were to accept OX, Inc.’s argument alleging that it only licensed or attempted

 9 to license software to companies outside the United States, which Openwave denies, OX Inc.’s own
10 case law cuts against dismissing Openwave’s copyright claim. See Motion at 12-13. In Shropshire v.
11 Canning, 809 F. Supp. 2d 1139 (N.D. Cal. 2011), the court denied defendant’s motion to dismiss,
12 where the defendant, a Canadian resident who posted a video on YouTube that contained an audio
13 track of plaintiff’s U.S. copyrighted song, had argued that the alleged infringing act –uploading an
14 infringing video to YouTube – took place in Canada. The Court, however, ruled that “the alleged act
15 of direct copyright infringement – uploading a video from Canada to YouTube’s servers in California
16 for display within the United States – constitutes an act of infringement that is not ‘wholly

17 extraterritorial’ to the United States.” Id. at 1147. As noted in Shropshire, even foreign acts of
18 infringement are actionable so long as the conduct is completed in the United States. Id. at 1145-6.
19         As in Shropshire, here holders of Virgin Media email accounts (which plaintiff alleges

20 contains infringing software) can access the infringing email interface software which presents and
21 makes available a presentation layer viewed by users that downloads portions of code to a U.S.-based
22 device. Those portions of code allow the execution of sub-tasks that make the email system work for

23 users in the United States. See Exh. A to Declaration of Cathleen Donohoe (“Donohoe Decl.”), and
24 Request for Judicial Notice (“RJN”), filed concurrently herewith (screen print of Virgin Media’s
25 website allowing persons within the United States to access the infringing software); Shropshire, 809
26 F. Supp. 2d at 1146 (citing United Feature Syndicate, 216 F. Supp. 2d at 225 (denying defendants’
27 motion to dismiss a copyright claim based on factual allegations, and reasonable inferences in support
28 thereof, that “allegedly infringing material was accessible from computers within the United States.”));

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 1 see also MAI Systems Corp. v. Peak Computer, Inc., 991 F.2d 511, 519 (9th Cir. 1993)(holding that
 2 copyright infringement occurs each time a computer program is opened without the copyright owner’s
 3 authorization because this act creates an unauthorized copy in the computer’s random access
 4 memory); Design Data Corp. v. Unigate Enterprise, Inc., 63 F. Supp. 3d 1062, 1069 n.7 (N.D. Cal.

 5 2014)(noting “that ‘copying’ of a computer program occurs each time the program is ‘opened without
 6 the copyright owner’s authorization.’”)(citation omitted). Thus, Openwave has properly stated a claim
 7 for copyright infringement.
 8         B.      Openwave Has Adequately Pled False Advertising Claims Under The Lanham Act
 9                 1.     This Court Has Jurisdiction To Hear Openwave’s Lanham Act Claims
10         In Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377 (2014), the U.S.

11 Supreme Court announced a new test for whether a plaintiff has standing to bring false advertising
12 claims under the Lanham Act. The Court held that to state a claim for false advertising under the
13 Lanham Act a plaintiff must allege an injury to a commercial interest in reputation or sales, where that
14 injury is proximately caused by violations of the statute. Id. at 1390. The Court noted that “a typical
15 false-advertising case will implicate only the Act’s goal of ‘protect[ing] persons engaged in
16 [commerce within the control of Congress] against unfair competition.’” Id. at 1389.

17         In Lexmark, the Court observed that “lost sales and damage to . . . business reputation – are

18 injuries to precisely the sorts of commercial interests the Act protects.” Id. at 1393. Although Lexmark
19 and Static Control were not direct competitors, the Court found that because Static Control alleged that
20 Lexmark disparaged its business and products by asserting that Static Control’s business was illegal,
21 Lexmark had proximately caused injury to Static Control. Id. 1393-94.
22         In this case, Openwave has alleged damage in the form of lost business and damage to its

23 reputation proximately caused by OX, Inc.’s disparagement of Openwave’s products and services. See,
24 e.g., Compl. ¶¶ 44-45. Openwave further has alleged that OX, Inc. is a direct competitor who
25 employed these false statements as a means by which it supplanted Openwave’s products and services
26 with its own. Id. Thus, both prongs of Lexmark are satisfied. Indeed, the situation here is what the
27 Supreme Court in Lexmark referred to as, “the ‘classic Lanham Act false-advertising claim’ in which
28

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 1 ‘one competito[r] directly injur[es] another by making false statements about his own goods [or the
 2 competitor’s goods] and thus inducing customers to switch.’” Id. at 1393.
 3                  2.      The Court Has Jurisdiction Over OX, Inc.’s False Advertising
 4          The Lanham Act provides a “broad jurisdictional grant.” Reebok Intern. Ltd. v Marnatech

 5 Enterprises Inc., 970 F.2d 552, 554 (9th Cir. 1992)(quoting Steele v. Bulova Watch Co., 344 U.S. 280,
 6 286 (1952)). As the Supreme Court observed in Lexmark, the relevant inquiry is whether a claim is
 7 within the “zone of interest” protected by the Lanham Act. Lexmark, 134 S. Ct. at 1389. The Court
 8 held that to come within the zone of interest, a plaintiff need only allege an injury to a commercial
 9 interest in reputation or sales. Id. at 1390. As the Ninth Circuit has said, “the extraterritorial coverage
10 of the Lanham Act should be gauged not so much by the locus of the activity sought to be reached . . .
11 as by the nature of its effect on that commerce which Congress may regulate.” Wells Fargo & Co. v.
12 Wells Fargo Exp. Co., 556 F.2d 406, 428 (9th Cir. 1977)(citing Steele, 344 U.S. at 286).
13          Here, as alleged in the Complaint, both Openwave and OX, Inc. are companies incorporated

14 and doing business in the U.S., and therefore are involved in commerce in the United States. Compl.
15 ¶¶ 15-16. Openwave is alleging harm to its business and reputation as a proximate result of false
16 statements by OX, Inc. Although the examples alleged in the Complaint occurred in foreign locations,

17 they were done on behalf of a U.S. corporation in order to help that corporation’s business and to hurt
18 Openwave here in the United States. The Court should look no further to determine that Openwave
19 has properly stated a claim under section 43(a) of the Lanham Act (15 U.S.C. section 1125(a)).
20          Even if the Court is not persuaded by Openwave’s argument above, an analysis of the three-

21 part test identified by OX, Inc. in its Motion (sometimes referred to as the “Timberline test”) to
22 determine the Lanham Act’s coverage of foreign activities also supports the Court’s jurisdiction over

23 the Lanham Act claims here. The Timberline test states: (1) “there must be some effect on American
24 foreign commerce”; (2) “the effect must be sufficiently great to present a cognizable injury to
25 plaintiffs under the federal statute”; and (3) “the interests of and links to American foreign commerce
26 must be sufficiently strong in relation to those of other nations to justify an assertion of extraterritorial
27 authority.” Reebok Intern., Ltd., 970 F.2d at 555 (quoting Star-Kist Foods, Inc. v. P.J. Rhodes & Co.,
28 769 F.2d 1393, 1395 (9th Cir. 1985)).

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 1         The first two parts of the Timberline test are easily met. Openwave has alleged that there has

 2 been an effect on American foreign commerce and that it has suffered injury sufficiently great to
 3 amount to a cognizable injury under the Lanham Act. Openwave has alleged that it is a Delaware
 4 corporation with its principal place of business in San Mateo, California, doing business in the U.S.

 5 and internationally, and that OX, Inc. is Delaware corporation with offices in Palo Alto, California.
 6 Compl. ¶¶ 15, 16. Openwave has further alleged that it has been damaged financially and otherwise by
 7 OX, Inc.’s false advertising and promotion in violation of the Lanham Act. Id. ¶¶ 53 (Openwave “lost
 8 the benefits of a more than $20 million contract and incurred additional damages in the millions of
 9 dollars”); 96-107 (Openwave has suffered monetary damages and irreparable injury including loss of
10 goodwill resulting from OX, Inc.’s violations of the Lanham Act); ¶ 12 (OX, Inc. has caused damage
11 to Openwave’s reputation with existing clients and in the marketplace); ¶ 65 (by OX, Inc.’s actions
12 Openwave has been exposed to material monetary penalties from Customer A). These allegations are
13 sufficient to satisfy the first two parts of the Timberline test. See, e.g., Love v. Assoc. Newspapers,
14 Ltd., 611 F.3d 601, 613 (9th Cir. 2010)(“the first two criteria may be met even where all of the
15 challenged transactions occurred abroad . . . as long as ‘there is monetary injury in the United States’
16 to an American plaintiff”)(quoting Ocean Garden, Inc. v. Marktrade Co. Inc., 953 F.2d 500, 503 (9th

17 Cir. 1991)).
18         OX Inc.’s argument that Openwave’s alleged injuries in the U.S. are “too tenuous” to meet the

19 third prong of the test is based on cases that are readily distinguishable. In Love the Court determined
20 that plaintiff had failed to present evidence that the complained of infringing CD distribution overseas
21 caused him any measurable monetary injury in the United States. Love, 611 F.3d at 613. In stark
22 contrast, here Openwave has alleged that it lost more than $20 million in revenue that it would have

23 earned here in California as a result of OX, Inc.’s false advertising and promotion. Compl. ¶¶ 53, 96-
24 107.
25         Trader Joe’s v. Hallatt is distinguishable on similar grounds. There, the plaintiff complained

26 that customers in Canada might be confused when shopping at “Pirate Joe’s,” but could not show any
27 related economic harm. Trader Joe’s v. Hallatt, 981 F. Supp. 2d 972, 977 (W.D. Wash. 2013).
28

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 1          OX Inc. also argues for dismissal based on consideration of the seven factors considered in

 2 balancing the third prong of the Timberlane test. Those factors are:
 3          [1] the degree of conflict with foreign law or policy, [2] the nationality or allegiance of the
            parties and the locations or principal places of business of corporations, [3] the extent to which
 4          enforcement by either state can be expected to achieve compliance, [4] the relative significance
            of effects on the United States as compared with those elsewhere, [5] the extent to which there
 5          is explicit purpose to harm or affect American commerce, [6] the foreseeability of such effect,
            and [7] the relative importance to the violations charged of conduct within the United States as
 6          compared with conduct abroad.
 7 Reebok, 970 F.2d at 555.
 8          OX Inc.’s analysis of these seven factors (Motion at 17-18) is at best disingenuous. With
 9 regard to the first factor, there is no potential conflict with foreign law or policy should Openwave’s
10 Lanham Act claim proceed here, as there are no related proceedings pending against OX, Inc.
11 elsewhere. See, e.g., Ocean Garden, 953 F.2d at 504 (finding this factor weighing in favor of
12 jurisdiction because “there are no pending proceedings in Hong Kong or Taiwan”); Trader Joe’s, 981
13 F. Supp. 2d at 978-79 (“where there is no related pending proceeding in the foreign country at issue,
14 there is little risk of conflict with foreign law or policy”)(citing Best Western Int’l v. 1496815 Ont.,
15 Inc., No. CV 04 1194 PHX SMM, 2007 WL 779699, *6 (D. Ariz. Mar. 13, 2007)).
16          The second and third factors also weigh strongly in favor of retaining jurisdiction here. It is

17 apparent from the face of the Complaint that a Delaware corporation with its principal place of
18 business in San Mateo, California has filed suit against another Delaware corporation, with an office
19 located in Palo Alto, California. Compl. ¶¶ 15-16. Any decision rendered by this Court would be fully
20 enforceable against the OX, Inc. See, e.g., Reebok, 970 F.3d at 556-57 (concluding the second and
21 third factors weighed in favor of retaining jurisdiction because, among other things, the bulk of the
22 parties are U.S. corporations, with substantial contracts and offices in the U.S.); Ocean Garden, 953

23 F.2d at 504 (holding that the sought-after injunction would be effective against the defendant, a U.S.
24 corporation). Thus, the second and third factors weigh heavily in favor of retaining jurisdiction.
25          The remaining four factors also weigh in favor of application of the Lanham Act. Openwave’s

26 injuries from OX, Inc.’s wrongdoing have been suffered in the U.S. As alleged, OX, Inc.’s intention
27 by its actions has been to garner business for itself at the expense of Openwave. Thus, the harm to
28 U.S. commerce is present, as is its foreseeability. See, e.g., Ocean Garden, 953 F.2d at 504 (the fourth

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 1 factor weighed in favor of retaining jurisdiction because defendant was a U.S. corporation “and
 2 therefore the losses involved affect a domestic corporation. . . .”; as to the fifth factor, “[t]here is
 3 evidence that [the] infringing acts were intentional;” as to the sixth, “[b]ecause the above five factors
 4 weigh in [plaintiff’s] favor, such effect was foreseeable,” and as to the seventh, among other things,

 5 “[a]gain, [plaintiff] is a U.S. corporation and is hurt by the infringement.”).
 6          Lastly, OX, Inc.’s argument that the Lanham Act claim sounds in fraud and has not been pled

 7 with requisite particularity (Motion at 14, n.9) should be disregarded. “A claim is said to be “grounded
 8 in fraud” or “‘sound[] in fraud’” where a plaintiff alleges that defendant engaged in “a unified course
 9 of fraudulent conduct” and relies “entirely on that course of conduct as the basis a claim.” Vess v.
10 Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103-04 (9th Cir. 2003). “In that event, . . . the pleading of
11 that claim as a whole must satisfy the particularity requirement of [Fed. R. Civ. P.] 9(b).” Id. at 1104.
12 Openwave’s Lanham Act claim does not rely on fraudulent conduct as the basis for its claim.
13 Openwave has alleged that OX, Inc. personnel have made several false statements to Openwave’s
14 customers and potential customers; it has not alleged material misstatements or omissions to
15 Openwave as an element of this claim. Compl. ¶¶ 10-11, 51, 63, 71, 74. The existence of those false
16 statements do not rely solely on a “unified course of fraudulent conduct,” for their existence and fraud

17 in not an essential element of Openwave’s false advertising claim. Vess, 317 F.3d at 1104-05.
18 “[W]here fraud is not an essential element of a claim, only allegations (‘averments’) of fraudulent
19 conduct must satisfy the heightened pleading requirements of Rule 9(b). Allegations of non-fraudulent
20 conduct need satisfy only the ordinarily notice pleading standards of Rule 8(a).” Id. at 1105.
21 Openwave is not claiming that OX, Inc. defrauded it by way of the false statements alleged in the
22 Complaint. It is alleging that the false statements proximately damaged its business based in the U.S.

23 Moreover, even if Openwave were required to plead its Lanham Act claim under the heightened
24 pleading standard of Fed. R. Civ. Proc. 9(b), it has met that burden, as explained in section E below.
25                 3.      The Alleged Statements Are Actionable
26          In its Motion, OX, Inc. argues that the series of false statements alleged in the Complaint do

27 not constitute “commercial advertising or promotion” as a matter of law. That assertion is not correct.
28 OX, Inc. provides an abridged definition of “commercial advertising or promotion.” Motion at 13. The

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 1 full text of the Coastal Abstract factors defining “commercial advertising or promotion” reads:
 2          (1) commercial speech; (2) by a defendant who is in commercial competition with plaintiff;
            (3) for the purpose of influencing consumers to buy defendant’s goods or services. While the
 3          representations need not be made in a “classic advertising campaign,” but may consist of
            more informal types of “promotion,” the representations (4) must be disseminated
 4          sufficiently to the relevant purchasing public to constitute “advertising” or “promotion”
            within that industry.
 5
 6 Coastal Abstract Service, Inc. v. First American Title Ins. Co., 173 F.3d 725, 735 (9th Cir. 1999).
 7          In Coastal Abstract, the Ninth Circuit affirmed the lower court’s ruling that “promotion”

 8 existed where plaintiff alleged only a single representation made to a single customer, because there
 9 was only a small number of potential customers in the relevant purchasing public (in that case,
10 nationwide refinancing operations). Id. In support of its conclusion, the Ninth Circuit quotes the Fifth
11 Circuit: “Where the potential purchasers in the market are relatively limited in number, even a single
12 promotional presentation to an individual purchaser may be enough to trigger the protections of the
13 Act.” Id. (quoting Seven-Up Co. v. Coca-Cola Co., 86 F.3d 1379, 1383 (5th Cir. 1996)).
14          OX, Inc. is incorrect in asserting that Openwave has pled a “large and expansive relevant

15 purchasing public.” Motion at 14 n.8. While Openwave did allege that there are “more than four
16 billion email accounts in the world today,” Compl. ¶ 21, those email account users are not Openwave’s

17 customers. The “relevant purchasing public” for Openwave’s custom built email systems are limited to
18 “large telecommunications carriers and providers” who are in the market for “commercial email
19 platforms.” Id. There are in fact a relatively limited number of such carriers and providers who are
20 potentially in the market for Openwave’s products, a fact that discovery in this case will easily
21 establish (and which OX, Inc. in fact is well aware of).
22          The cases OX, Inc. cites for the proposition that “isolated statements made to actual or

23 potential customers about a competitor simply do not constitute commercial advertising or promotion”
24 (Motion at 14:1-10), are not controlling authority, and are readily distinguishable. Moreover, the
25 statements at issue here were not isolated. Here, Openwave has alleged that OX, Inc. made a series of
26 false statements to specific current and potential Openwave customers in an attempt to gain the
27 business for itself. Compl. ¶ 51; see also id. ¶¶ 7, 10-11, 96-107.
28          Garland Co. Inc. v. Ecology Roof Systems Corp., 895 F. Supp. 274, 276-77 (D. Kan. 1995) is a

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 1 1995 District of Kansas opinion that pre-dates the Ninth Circuit’s opinion in Coastal Abstract and
 2 applies a different standard than the one applied in the Ninth Circuit under Coastal Abstract.
 3          In Crossfit Inc. v. Alvies, the court found that an isolated email from a single person to a reader

 4 of defendant’s blog did not constitute “‘an organized campaign to penetrate the market,’” and gave

 5 Alvies leave to amend to explain how any disparaging statements were disseminated to the purchasing
 6 public. Crossfit Inc. v. Alvies, No. 13-3771-SC, 2014 WL 251760, at *4 (N.D. Cal. Jan. 22, 2014).
 7 Here, by contrast, Openwave has alleged multiple communications by employees of a single
 8 competitor.
 9          In Walker & Zanger, Inc. v. Paragon Industries, Inc., 549 F. Supp. 2d 1168, 1182 (N.D. Cal.

10 2007), the court concluded that “[a] handful of statements to customers does not trigger protection
11 from the Lanham Act unless ‘the potential purchasers in the market are relatively small in number.’”
12 Id. (quoting Coastal Abstract, 173 F.3d at 735). Here, large telecommunication companies in the
13 market for customized email systems are “relatively small in number.” Moreover, Walker & Zanger
14 was decided on summary judgment. As the Ninth Circuit pointed out in Newcal Indust. Inc. v. Ikon
15 Office Solution, 513 F.3d 1038 (9th Cir. 2008), in reversing the district court’s dismissal of a Lanham
16 Act claim, “[w]hether the relevant statements were ‘disseminated sufficiently to the relevant

17 purchasing public’ [within the meaning of Coastal Abstract] . . . may turn out to be true or false, but
18 the allegation survives for purposes of stating a claim. . . . [Plaintiff] must be given the opportunity to
19 prove that the alleged statements were made in commercial advertising.” Id. at 1054.
20          The unreported cases that OX, Inc. cites for the proposition that Openwave has not alleged that

21 the statements “were widely disseminated to the purchasing public in commercial advertising or
22 promotion” (Motion at 14:11-15:9), likewise do not support dismissal. In New Show Studios, the court

23 held that the plaintiff’s Lanham Act claim failed because plaintiffs failed to allege they were part of a
24 competing business and did not allege statements were made by defendants “in commercial
25 competition with plaintiff[s].” New Show Studios LLC v. Needle, No. 14-cv-01250, 2014 WL
26 2988271, at *16 (C.D. Cal. June 30, 2014).
27          Similarly, in Oracle v. Terix, No. 13-cv-03385-PSG, 2014 WL 5847532 at *10-11 (N.D. Cal.

28 Nov. 7, 2014), the court held that plaintiffs alleged only recitations of Lanham Act elements without

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 1 supporting facts. Here, by contrast, Openwave has identified numerous specific factual misstatements.
 2 See Compl. ¶¶ 21, 51, 63-65, 71, 74. In sum, Openwave has sufficiently pled “commercial advertising
 3 or promotion” under controlling Ninth Circuit precedent by identifying numerous specific
 4 misstatements made by OX, Inc. to at least three important existing and potential customers of

 5 Openwave within the highly-concentrated relevant industry of “large telecommunications carriers and
 6 providers” who are in the market for customized “commercial email platform[s]”               that were

 7 “sufficiently disseminated to the relevant purchasing public to constitute . . . ‘promotion’ within that
 8 industry.” Coastal Abstract, 173 F.3d at 735. See Compl. ¶¶ 21, 51, 63-65, 71, 74. In light of these
 9 facts alleged, which must be taken as true on a motion to dismiss, Openwave has sufficiently alleged
10 “an organized campaign to penetrate the market,” involving a “promotion” within the meaning of the
              1
11 Lanham Act. Accordingly, OX Inc.’s Motion to Dismiss Openwave’s Lanham Act claims should be
12 denied.
13           C.     The Court Should Reject OX Inc.’s Forum Non Conveniens Arguments

14                  1.     The Court Should Enforce The Parties’ Forum Selection Provision In The
                           OEM Agreement
15
16           The OEM Agreement contains a “Choice of Law” provision at §15.2. In addition to specifying

17 that the Agreement will be “governed and construed in accordance with the laws of the State of
18 California” that section also states that “[a]ny legal action or proceeding with respect to this
19 Agreement will be brought in the United States District Court for the Northern District of California or
20 any state court located in such Northern District.” “[T]he party challenging a forum selection clause
21 bears a heavy burden of showing that trial in the chosen forum would be so difficult and inconvenient
22 that the party would effectively be denied a meaningful day in court.” Gamayo v. Match.com LLC, No.

23 11-cv-00762-SBA, 2011 WL 3739542, at *3 (N.D. Cal. Aug. 24, 2011). In Atl. Marine Const. Co. v.
24 U.S. Dist. Court for Western Dist. of Texas, 134 S. Ct. 568, 581 (2013), the U.S. Supreme Court held
25 that “[t]he ‘enforcement of valid forum-selection clauses, bargained for by the parties, protects their
26
     1
27   Fact discovery will be needed to determine such things as the nature and quantity of false statements
   made, to whom the statements were made and how often, and factual details and potential expert opinion
28 regarding the size and scope of the “relevant industry.” See, e.g., Newcal Indust., 513 F.3d at 1054
   (reversing motion to dismiss Lanham Act claim, because plaintiff must be given the opportunity to
   present evidence in support of its allegations).
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 1 legitimate expectations and furthers vital interests of the justice system.’ For that reason . . . a valid
 2 forum-selection clause [should be] given controlling weight in all but the most exceptional cases.” Id.
 3 at 581 (quoting Stewart Org. v. Ricoh Corp., 487 U.S. 22, 33 (1988)(Kennedy, J., concurring)). The
 4 Court continued, “[w]hen parties have contracted in advance to litigate disputes in a particular forum,

 5 courts should not unnecessarily disrupt the parties’ settled expectations. A forum-selection clause,
 6 after all, may have figured centrally in the parties’ negotiations and may have affected how they set
 7 monetary and other contractual terms; it may, in fact, have been a critical factor in their agreement to
 8 do business together in the first place. In all but the most unusual cases, therefore, ‘the interest of
 9 justice’ is served by holding parties to their bargain.” Id. at 583. That bargain should be enforced here
10 and OX Inc.’s authorities are inapposite.
11         The OEM Agreement was negotiated by the parties to this lawsuit and was signed by Rafael

12 Laguna de la Vera as “Chief Executive Officer of Open-Xchange, Inc.” (the U.S. entity). “While a
13 court typically must weigh both private and public interest factors in deciding a motion to transfer,
14 ‘when the parties’ contract contains a valid forum-selection clause, that clause represents [their]
15 agreement as to the most proper forum’ and is generally given deference over other factors.” Zako v.
16 Hamilton Co., No. 15-cv-03162-EJD, 2016 WL 344883, at *2 (N.D. Cal. Jan. 28, 2016)(quoting Atl.

17 Marine, 134 S. Ct. at 581). Courts addressing whether transfer/dismissal is appropriate “must begin by
18 acknowledging that there is a strong judicial policy favoring enforcement of forum-selection clauses.”
19 Zako, 2016 WL 344883, at *3 (citing E. & J. Gallo Winery v. Andin Licores S.A., 446 F.3d 984, 992
20 (9th Cir. 2006)). “The prevailing view is that ‘such clauses are prima facie valid and should be
21 enforced’ unless the opposing party demonstrates that enforcement would be ‘unreasonable under the
22 circumstances.’” Id. (quoting M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10 (1972)). In Zako,

23 once the court determined that the forum-selection clause applied to plaintiff’s claim, it held that
24 “further analysis of the convenience of the parties or the various public-interest factors . . .” was
25 unnecessary. Id. at *6; see also Cung Le v. Zuffa, LLC, 108 F. Supp. 3d 768, 774-775 (N.D. Cal.
26 2015)(“[T]he contractual designation of a particular forum for the resolution of disputes is
27 presumptively valid and should be enforced.”)(citations omitted).
28

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 1         Openwave’s claims 3 (trade secret misappropriation), 6 (tortious interference with contract), 7

 2 (tortious interference with prospective business advantage), 8 (false advertising), 9 (unfair competition
 3 under Cal. Bus & Prof. Code), 10 (common law unfair competition) and 11 (fraud) should not be
 4 dismissed for the further reason of judicial economy. OX, Inc. is not moving to dismiss claims 4 and 5

 5 alleging breach of contract and breach of the implied covenant of good faith. Moreover, as discussed
 6 above in sections A and B, Openwave’s copyright and Lanham Act claims should not be dismissed.
 7 Declining to exercise jurisdiction over some but not all of the claims that arise out of the same
 8 contractual relationship, breaches and acts of misconduct would be inefficient and unfair.
 9         Dismissal also should be denied to avoid the risk of inconsistent judgments. Resolution of

10 those claims that OX, Inc. has moved to dismiss depends largely on an interpretations of the parties’
11 obligations under the OEM Agreement.
12                 2.      The Forum Selection Provision Is Not Unreasonable
13         “A forum selection clause is unreasonable if (1) its incorporation into the contract was the

14 result of fraud, undue influence, or overweening bargaining power; (2) the selected forum is so
15 ‘gravely difficult and inconvenient’ that the complaining party will ‘for all practical purposes be
16 deprived of its day in court,’ or (3) enforcement of the clause would contravene a strong public policy

17 of the forum in which the suit is brought.” Argueta v. Banco Mexicano, S.A., 87 F.3d 320, 324 (9th
18 Cir. 1996)(internal citations omitted). Here, OX, Inc. has not alleged that any of these factors are met.
19 Instead, OX, Inc. is playing a “shell game” with its officers and employees, claiming no connection
20 with California, despite documents incorporated by reference in the Complaint suggesting that
21 European and U.S. operations are inexorably bound together. For example, Mr. Laguna clearly signed
22 the OEM Agreement as the CEO of the U.S. entity, OX, Inc. Interestingly, Mr. Laguna also is listed as

23 Chief Executive Officer of “OX,” apparently including all corporate entities, on the company’s web
24 site at: https://www.open-xchange.com/company/management-team. See Donohoe Decl. Exh. B; RJN.
25         The same holds true for Ms. Schroeder, who states in her declaration signed under oath, that

26 she is an officer of Open-Xchange GmbH and a director of Open-Xchange S.r.l. since “2008 and 2015,
27 respectively.” She does not identify her position as CFO of Open-Xchange, Inc., the U.S. entity,
28 despite her signature on five Statement of Work agreements incorporated by reference in paragraph 27

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 1 of the Complaint, which identifies her as such, and a corporate document filed with the Delaware
 2 Secretary of State identifying her as the CFO of OX, Inc. See Declaration of Joseph Campbell
 3 (“Campbell Decl.”) ¶¶ 11-15 and Exhs. A-E thereto; Donohoe Decl. ¶ 7 and Exh. E thereto; RJN. So
 4 too, she claims to work “primarily in Germany” and that OX, Inc. has no employees outside the U.S.

 5 (Schroeder Dec. ¶¶ 2,10), but her signature authorizing SOWs as an officer and representative of
 6 Open-Xchange, Inc. means either that she herself was an employee working within the U.S. during the
 7 relevant time period, or that she was an employee of OX, Inc. outside the U.S., despite her declaration
 8 stating that OX, Inc. does not have employees, and by implication, conducts no business, outside the
 9 U.S. See Schroeder Decl. ¶ 2.
10          The Court should not reward OX, Inc. by allowing it to hide behind protean corporate

11 identities, but should allow the litigation to proceed in this Court consistent with the forum selection
12 clause negotiated and agreed upon by OX, Inc. so that Openwave can get discovery into the true
13 corporate form and officers of OX, Inc. and, if appropriate, pierce the corporate veil.
14                 3.      The Forum Selection Provision Applies To All of Openwave’s Claims And
                           Should Be Construed Broadly
15
16          OX, Inc. further argues that the language of the choice of forum provision should be narrowly

17 construed because the phrase “with respect to this agreement” as used in that clause does not pertain to
18 any of Openwave’s claims except breach of contract and breach of the implied duty of good faith and
19 fair dealing. However “[u]nless the language or terms of the contract express otherwise, a forum-
20 selection clause will apply to claims that arise from or relate to the contract containing the clause.”
21 Zako, 2016 WL 344883, at *3 (citing Graham Tech. Solutions, Inc. v. Thinking Pictures, Inc., 949 F.
22 Supp. 1427, 1433 (N.D. Cal. 1997)).

23          Merriam-Webster.com defines the phrase, “with respect to,” to mean, “about or concerning”

24 and “in relation to.” See Donohoe Decl. Exh. C; RJN. The term “with respect to” has also been
25 judicially construed to be the equivalent of “relating to.” See Scott v. Lopez, No. 12-cv-01456-HRL,
26 2013 WL 1182957, at *3 (N.D. Cal. Mar. 21, 2013). While the Ninth Circuit has not construed the
27 term “with respect to,” it has very broadly construed “relating to,” which Scott and Merriam Webster
28 deem to be synonymous with “with respect to.” In Cape Flattery Ltd. v. Titan Maritime, LLC, 647

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 1 F.3d 914, 922 (9th Cir. 2011), the Ninth Circuit explained that a forum selection clause applicable to
 2 claims “relating to” a contract should be very broadly construed (in contrast to venue selection clauses
 3 that instead use the terms “arising under,” “arising out of,” or “arising hereunder,” which should be
 4 narrowly construed to encompass only disputes “relating to the interpretation and performance of the

 5 contract itself. . . .”); see also Perry v. AT & T Mobility LLC, No. 11-cv-01488-SI, 2011 WL 4080625,
 6 at *3 (N.D. Cal. Sept. 12, 2011)(citing Cape Flattery in holding that a forum-selection clause’s use of
 7 phrase “relating to” provided for broad interpretation of its scope). For all of these reasons, the forum
 8 selection provision should be broadly construed to apply to all of Openwave’s claims.
 9                 4.      OX, Inc. Has Not Met Its Heavy Burden To Justify A Forum Non
                           Conveniens Dismissal Of This Matter
10
11          OX, Inc. argues that Italy is a more convenient forum even though the acts and omissions at
12 issue have a far greater connection to the United States. When evaluating a motion to dismiss for
13 forum non conveniens, the Court must hold defendant to its burden of making a clear showing of facts
14 that establish oppression and vexation out of proportion to plaintiff’s convenience. Carijano v.
15 Occidental Petroleum Corp., 643 F.3d 1216, 1236 (9th Cir. 2011)(quoting Boston Telecoms. Grp., Inc.
16 v. Wood, 588 F.3d 1201, 1212 (9th Cir. 2009); Gates Learjet Corp. v. Jensen, 743 F.2d 1325, 1337

17 (9th Cir. 1984)). “[F]orum non conveniens [is] an exceptional tool to be employed sparingly.” Ravelo
18 Monegro v. Rosa, 211 F.3d 509, 514 (9th Cir. 2000).
19          When the plaintiff is a U.S. citizen or resident, the plaintiff’s choice of his home forum should
20 be accorded deference. Piper Aircraft Co. v. Reyno, 454 U.S. 235, 257 (1981). When a domestic
21 plaintiff initiates litigation in its home forum, it is presumptively convenient. Carijano, 643 F.3d at
22 1227 (holding that where the plaintiff is a U.S. citizen, the defendant must satisfy a heavy burden of

23 proof); Boston Telecoms. Grp., Inc. v. Wood, 588 F.3d 1201, 1207 (9th Cir. 2009)(“unless the balance
24 is strongly in favor of the defendant, the plaintiff’s choice of forum should rarely be disturbed . . .”)
25 (quoting Gates, 743 F.2d at 1334-35)). “To prevail on a motion to dismiss based upon forum non
26 conveniens, a defendant bears the burden of demonstrating an adequate alternative forum, and that the
27 balance of private and public interest factors favors dismissal.” Carijano, 643 F.3d at 1224. The Court
28 weighs the following private interest factors: (1) the residence of the parties and the witnesses; (2) the

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 1 forum’s convenience to the litigants; (3) access to physical evidence and other sources of proof; (4)
 2 whether unwilling witnesses can be compelled to testify; (5) the cost of bringing witnesses to trial; (6)
 3 the enforceability of the judgment; and (7) all other practical problems that make trial of a case easy,
 4 expeditious and inexpensive. Lueck v. Sundstrand Corp., 236 F.3d 1137, 1145 (9th Cir. 2001). Here,

 5 all of these factors weigh against granting OX, Inc.’s Motion.
 6         (1) Residence of the parties and the witnesses: “[T]he focus for this private interest analysis

 7 should not rest of the number of witnesses . . . in each locale but rather the court should evaluate the
 8 materiality and importance of the anticipated . . . witnesses’ testimony and then determine their
 9 accessibility and convenience to the forum.” Carijano, 643 F.3d at 1231 (quoting Boston Telecomms.,
10 588 F.3d at 1209) (internal quotation marks omitted). OX, Inc. asserts, with no evidentiary support,
11 that the “true parties in interest on the non-contract claims are foreign entities.” Motion at 20. This
12 statement mischaracterizes plaintiff’s claims and the gravamen of the Complaint. The claims that OX,
13 Inc. is luring away Italian employees in a single office, and misappropriating trade secrets is only a
14 small part of Openwave’s allegations of unfair, deceptive and anti-competitive activities in multiple
15 locations “across Europe” and “across the globe.” See, e.g., Compl. ¶¶ 80-85; see also Campbell Decl.
16 ¶¶ 7-9. Therefore, while some third-party witnesses may reside in foreign countries, not necessarily

17 Italy, the nexus of the dispute is in California where both Openwave and OX, Inc. are located, which is
18 the forum whose law is to be applied, and where much of discovery can be obtained using avenues
19 regularly employed by Federal Courts. See Campbell Decl. ¶¶ 5-8. Importantly, however, the material
20 witnesses are Mr. Laguna, who signed the OEM Agreement and other officers, directors and
21 employees of OX, Inc., the American entity who negotiated the OEM Agreement and SOWs and who
22 assisted in the integration and modification of the OX and Openwave technologies. OX Inc.’s

23 arguments in favor of the Italian forum fail to provide enough information to determine the materiality
24 and importance of witnesses there, and do not even attempt to identify all anticipated witnesses in the
25 forum. Thus, OX Inc.’s argument is insufficient to carry their burden. See Carijano, 643 F.3d at 1231;
26 Boston Telecomms., 588 F.3d at 1210.
27         (2) Convenience of the litigants: “[A] plaintiff need not select the optimal forum for his claim,

28 but only a forum that is not so oppressive and vexatious to the defendant ‘as to be out of proportion to

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 1 plaintiff’s convenience.” Tuazon v. R.J. Reynolds Tobacco Co., 433 F.3d 1163, 1180 (9th Cir. 2006)
 2 (quoting Ravelo Monegro v. Rosa, 211 F.3d 509, 514 (9th Cir. 2000)). Northern California is a much
 3 more convenient venue for Openwave than Italy. See Campbell Decl. ¶¶ 5-6, 10. Much as OX insists
 4 otherwise, the named defendant in this matter is OX, Inc., a U.S. corporation with offices in Palo Alto,

 5 California, which is incorporated in Delaware and which negotiated and agreed to the OEM
 6 Agreement underpinning all of the claims in this litigation, the Agreement that provides for dispute
 7 resolution here in the Northern District of California. It is OX, Inc. with which Openwave has a
 8 contract, OX, Inc. which ultimately owes the duties Openwave alleges were breached, and OX, Inc.
 9 which agreed presumptively to the convenience and desirability of the Northern District of California
10 as the forum specified in the OEM Agreement’s choice of forum provision. OX, Inc. hardly can
11 protest now or credibly claim inconvenience.
12         (3) Access to physical evidence and other sources of proof: The majority of Openwave’s

13 documents relevant to this litigation are housed in California, which is also where the majority of
14 Openwave’s witnesses are located. Campbell Decl. ¶¶ 5-6. Presumably, OX, Inc.’s documents also are
15 located in the U.S. To the extent evidence is located outside the Northern District of California, and
16 outside the parties’ control, there are procedures available for obtaining such evidence. Federal

17 litigants in the U.S. also may use the mechanisms of the Hague Convention on the Taking of Evidence
18 Abroad in Civil and Commercial Matters (“Hague Convention”). Furthermore, while OX, Inc. has
19 identified Italy as the forum in which it would now prefer to litigate (presumably to avoid U.S.
20 discovery of email which will document and chronicle OX, Inc.’s infringement and misconduct), there
21 are numerous other countries where evidence may reside and Italy has not been shown to be superior
22 to any of them. In fact, according to the Declaration of Professor Mastroianni, Italy is a far less

23 adequate forum as it “does not provide for discovery or disclosure.” Mastroianni Declaration ¶ 17.
24 Instead, production of physical evidence appears to be at the discretion of a party. This factor alone
25 may explain OX, Inc.’s choice of Italy as a forum, but it would materially prejudice Openwave.
26 “Forcing a party to litigate a suit under circumstances restricting access to proof is ‘oppressive.’” STM
27 Group, Inc. v. Gilat Satellite Networks Ltd., No. 11-cv-0093-DOC-RZx, 2011 WL 2940992, at *7
28 (C.D. Cal. July 11, 2011).

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 1          (4) Whether unwilling witnesses can be compelled to testify: As with physical evidence, the

 2 Italian process seems to allow for less flexibility and opportunity for discovery than what is available
 3 here in the Northern District of California, where OX, Inc. agreed to litigate disputes with Openwave.
 4 See Mastroianni Decl. ¶ 20. As with Italy, federal litigants in the U.S. also may use the mechanisms of

 5 the Hague Convention to obtain testimony. See id. ¶ 27.
 6          (5) The cost of bringing witnesses to trial is the same for Openwave with respect to Italy as it is

 7 for OX, Inc. with respect to the U.S., however the cost avoided by OX, Inc. litigating in Italy is only
 8 marginal since the Complaint alleges unlawful activities in many locations thus requiring witness
 9 travel between the UAE, Asia-Pacific and the United Kingdom, among other places – and of course
10 the United States, where Openwave and OX, Inc. both have offices, where most of Openwave’s
11 documents and many of its witnesses are located, and where much of OX, Inc.’s copyright
12 infringement took place. See Campbell Decl. ¶¶ 4-10.
13          Finally, with respect to (6) the enforceability of the judgment; and (7) all other practical

14 problems that make trial of a case easy, expeditious and inexpensive: it does not appear that Italy is in
15 any way superior to this Court. Given that OX, Inc. is present in the U.S., enforcing a judgment
16 against the U.S. entity should be easier here.

17          D.      Public Interest Factors Weigh In Favor Of Dismissal
18          As stated above, OX, Inc. also bears the burden of showing the public interest factors favor
19 transfer. Those factors are: “(1) the local interest in the lawsuit, (2) the court’s familiarity with the
20 governing law, (3) the burden on local courts and juries, (4) congestion in the court, and (5) the costs
21 of resolving a dispute unrelated to a particular forum.” Tuazon, 433 F.3d at 1181 (citing Lueck, 236
22 F.3d at 1147).

23          (1) Local interest in the lawsuit: The U.S. Supreme Court has held that “[t]here is a local

24 interest in having localized controversies decided at home.” Gulf Oil Corp. v. Gilbert, 330 U.S. 501,
25 509 (1947). Openwave is a U.S. company, thus there is a strong local interest in this lawsuit for this
26 reason alone. By contrast, Italy’s interest in this lawsuit only is minimal; Openwave’s affiliated entity
27 has a small office there, and only a small percentage of the wrongdoing detailed in the Complaint took
28 place in Italy. See Campbell Decl. ¶¶ 7, 9.

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 1          (2) The Court’s familiarity with the governing law: According to the OEM Agreement, all

 2 matters “with respect to” the Agreement shall be governed by California law. As argued above, that
 3 should apply to all claims raised in this lawsuit. Openwave’s federal claims and contract claims will be
 4 governed by U.S. law and California law respectively. There is no reason to believe that a court in

 5 Italy would be better able to adjudicate claims of U.S. and California law than this Court.
 6          (3) The remaining public interest factors (3, 4, and 5) “all relate to the effects of hearing the

 7 case on the respective judicial systems.” Carijano, 643 F.3d at 1232. According to the uscourts.gov
 8 website, the median time to trial for civil cases is 24.6 months in the Northern District of California.
 9 See Donohoe Decl. Exh. D; RJN. According to the Declaration of Prof. Mastroianni, “the standard
10 duration of ordinary proceedings is between 2 and 3 years.” Mastroianni Decl. ¶ 14. Italy does not
11 appear to offer more efficiencies or place less burden or cost on courts and juries.
12          Based on a review of the factors here, and the strong presumption in favor of Openwave’s choice

13 of forum, this matter should remain in the Northern District of California.
14          E.     Openwave Has Sufficiently Pled Claims Eight Through Eleven

15                 1.      Claims Eight Though Ten Do Not Sound In Fraud, And Thus, Are Not
                           Subject To The Heightened Pleading Requirements Of Rule 9(b)
16

17          OX Inc.’s assertion that Openwave’s claims eight through ten must be pled with particularity is

18 incorrect. It is only “where fraud is an essential element of a claim” that allegations of fraudulent
19 conduct must satisfy the heightened pleading requirements of Rule 9(b). Vess, 317 F.3d at 1104-05.
20 Fraud is not an essential element of Openwave’s claims for false advertising under California Business
21 and Professional Code section 17500 (claim eight), unfair competition under California Business and
22 Professional Code section 17200 (claim nine), and common law unfair competition (claim ten). These

23 claims do not sound in fraud, as each of the elements of those claims can be established without
24 fraudulent intent. Compare claims eight through ten (Compl. ¶¶ 150-176) with Openwave’s fraud
25 claim (id. at ¶¶ 177-187). Accordingly, the allegations in claims eight through ten are not subject to
26 Rule 9(b)’s heighted pleading requirements. Vess, 317 F.3d at 1104 (“[t]he rule does not require that
27 allegations supporting a claim be stated with particularity when those allegations describe non-
28 fraudulent conduct. . . . To require that non-fraud allegations be stated with particularity merely

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 1 because they appear in a complaint alongside fraud averments, however, serves no similar reputation-
 2 preserving function, and would impose a burden on plaintiffs not contemplated by the notice pleading
 3 requirements of Rule 8(a).”).
 4                 2.      Even If Claims Eight Through Ten Are Required To Meet The Heightened
                           Pleading Standard Of Rule 9(b), Openwave Has Met That Standard
 5
 6         Even if claims eight through ten are subject to the heightened standard of Federal Rule of Civil

 7 Procedure 9(b), under the facts of this case, that standard has been met. While it is true, as OX, Inc.
 8 asserts, that courts have held that “[t]o satisfy this standard, a plaintiff must identify ‘the time, place,
 9 and content of [the] alleged misrepresentation[s],’ as well as the ‘circumstances indicating falseness’
10 or ‘manner in which the representations at issue were false and misleading . . . ,’” Frenzel v.
11 AliphCom, 76 F. Supp. 3d 999, 1005-06 (N.D. Cal. 2014)(quoting In re GlenFed, Inc. Sec. Litig., 42
12 F.3d 1541, 1547-48 (9th Cir. 1994)), it is also true that “Rule 9(b) particularity requirements must be
13 read in harmony with Federal Rule of Civil Procedure 8’s requirement of a ‘short and plain’ statement
14 of the claim. Thus, the particularity requirement is satisfied if the complaint ‘identifies the
15 circumstances constituting fraud so that a defendant can prepare an adequate answer from the
16 allegations.’” Bass v. Dollar Tree Stores, Inc., No. 07-cv-03108-JSW, 2007 WL 2462150, at *2 (N.D.

17 Cal. 2007)(quoting Moore v. Kayport Package Exp., Inc., 885 F.2d 531, 540 (9th Cir. 1989)); Frenzel,
18 76 F. Supp. 3d at 1006. Furthermore, “[d]espite this heightened standard, the Ninth Circuit has opined
19 that courts “cannot make Rule 9(b) carry more weight than it was meant to bear.” Cooper v. Pickett,
20 137 F.3d 616, 627 (9th Cir.1997); see also Schlagal v. Learning Tree Int'l., No. 98-cv-6384-ABC-EX,
21 1998 WL 1144581 at *8 (C.D. Cal. Dec. 23, 1998)(“The Court must strike a careful balance between
22 insistence on compliance with demanding pleading standards and ensuring that valid grievances

23 survive.”). Instead, Rule 9(b) “must be read in harmony with Fed. R. Civ. P. 8’s requirement of a
24 ‘short and plain’ statement of the claim.” Baas, 2007 WL 2462150, at *2; see also Weiner v. Ocwen
25 Financial Corp., No. 14-cv-02597-MCE, 2015 WL 4599427, at *4 (E.D. Cal. July 29, 2015)(“Rule
26 9(b) ‘must be read in harmony with Fed.R.Civ.P. 8’s requirement of a short and plain statement of the
27 claim.’”)(citation omitted). Additionally, “the general rule that allegations of fraud based on
28 information and belief do not satisfy Rule 9(b) may be relaxed with respect to matters within the

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 1 opposing party’s knowledge. In such situations, plaintiffs cannot be expected to have personal
 2 knowledge of the relevant facts.” Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir.1993)(citing Wool v.
 3 Tandem Computers Inc., 818 F.2d 1433, 1439 (9th Cir.1987)); see also Moore v. Kayport Package
 4 Express, Inc., 885 F.2d 531, 540 (9th Cir.1989)(“the rule may be relaxed as to matters within the

 5 opposing party’s knowledge.”)). Openwave has alleged surreptitious and concealed acts by OX, Inc.
 6 See Compl. ¶¶ 7, 10, 11, 39, 40-42, 46, 51-53, 63-64, 69, 70-71, 150-176. OX, Inc. should not be
 7 rewarded further for successfully deceiving its business partner.
 8         Openwave’s allegations are “‘specific enough to give defendant[] notice of the particular

 9 misconduct which is alleged to constitute the fraud charged so that [it] can defend against the charge
10 and not just deny that [it has] done anything wrong.’” Frenzel, 76 F. Supp. 3d at 1006 (quoting Swartz,
11 476 F.3d at 764). Moreover, the particularity requirements of Rule 9(b) “may be relaxed as to matters
12 within the opposing party’s knowledge. For example, in cases of corporate fraud, plaintiffs will not
13 have personal knowledge of all of the underlying facts.” Moore, 885 F.2d at 540; Bass, 2007 WL
14 2462150, at *2 (citations omitted). Here, Openwave does not, and would not, have personal
15 knowledge of the specific facts surrounding OX Inc.’s misrepresentations beyond the information
16 conveyed to it by mutual customers, as reflected in the Complaint. “In such cases, the particularity

17 requirement may be satisfied if the allegations are accompanied by a statement of the facts on which
18 the belief is founded.” Id. (citing Wool v. Tandem Computers, Inc., 818 F.2d 1433, 1439 (9th Cir.
19 1987), overruled in part on other grounds, Hollinger v. Titan Capital Corp., 914 F.2d 1564, 1575 (9th
20 Cir. 1990)). OX, Inc. is cunning and took pains to conceal its activities (which it now seeks to keep
21 under wraps by moving the case to Italy to avoid discovery). Openwave has had to piece together,
22 through conversations with customers and interviews with departing employees, the facts behind OX,

23 Inc.’s deception. It only will be after Openwave is able to conduct discovery that it will know the full
24 details. But the continuing deception, up to and including the misleading declarations filed in support
25 of OX Inc.’s Motion – declarations disproven by documents signed by the declarants – is evidence
26 enough that OX, Inc. has not been dealing with Openwave in good faith. Through its allegations,
27 Openwave has stated the factual basis for its beliefs of the time periods that OX, Inc. intentionally
28 made false and misleading statements to Openwave’s customers. See generally Compl.

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 1                  3.         Claim Eleven Has Also Been Pled With Particularity
 2          Openwave has pled its fraud claim (claim eleven) with the degree of particularity required by
 3 Federal Rule of Civil Procedure 9(b) as well. See Compl. ¶¶ 1-9, 76-79, 177-187. Openwave has
 4 alleged misrepresentations with sufficient particularity to put OX, Inc. on notice of the nature of the

 5 alleged fraud, in other words, they are “‘specific enough to give defendant[] notice of the particular
 6 misconduct which is alleged to constitute the fraud charged so that [it] can defend against the charge
 7 and not just deny that [it has] done anything wrong.’” Frenzel, 76 F. Supp. 3d at 1006 (quoting Swartz,
 8 476 F.3d at 764). As explained above, particularity requirements of Rule 9(b) may be relaxed in cases
 9 of corporate fraud. See, e.g., Moore, 885 F.2d at 540; Bass, 2007 WL 2462150, at *2 (citations
10 omitted). “In such situations, plaintiffs cannot be expected to have personal knowledge of the relevant
11 facts.” Neubronner, 6 F.3d at 672 (citing Wool, 818 F.2d at 1439.
12 IV.      CONCLUSION

13          For the foregoing reasons, Openwave respectfully requests that OX Inc.’s motion to dismiss be
                           2
14 denied in its entirety.
15                                                          Respectfully submitted,

16 DATED: April 4, 2016                                     GREENBERG TRAURIG, LLP

17
                                                            By:       /s/ Ian C. Ballon
18                                                                Ian C. Ballon
                                                                  David M. Lisi
19                                                                Cathleen Donohoe

20                                                                Attorneys for Plaintiff
                                                                  OPENWAVE MESSAGING, INC.
21
22

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25
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27
     2
28     In the event the Court decides to grant OX Inc.’s motion to dismiss, Openwave respectfully requests
     that the Court allow it an opportunity to amend its pleading to include recently discovered infringement
     and particular statements made within the United States.
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